‘ Case 2:05-cV-02568-.]DB-STA Document4 Filed 08/10/05 Page 10f3 Page|DB

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THGlii¢i-B F.l. GUULD

 

United States of Arnerica, CLEH}(' U,§` ;";;'-;?;“.r;{_“_'r CO[M'
l‘i"i:’ fig st . .§§-£§P`l'il$
Plaintiff,
___ i~_
vs. Civil No. 0 5 2 0 6 8 8 An
Fifty Thousand Dollars

($50,000.()0) in U.S. Funds,
Defendant.
MQ_R_M

Pursuant to the consent and agreement of the parties hereto, by and through their respective
attorneys, it is hereby ORDERED, AD.IUDGED, AND DECREED that:

l. Pursuant to the Claimant’s Plea Agreement in United States v. Sherrie-Lee Doreen
M, No. 0 5"" w ariz (W.D. Tenn.), which is wholly incorporated herein by reference, the
defendant property shall be forfeited to the United States, to be disposed of in accordance with law.

2. The Claimant admits no liability in connection with the seizure and forfeiture of the
above-described property, which is the subject of this suit.

4. The United States of America, its agents and employees, are released from any and
all claims that might result from the seizure and forfeiture of the defendant property

5. This action shall be dismissed with prejudice; and each party shall bear its own

attorney’s fees and costs.

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6. The Clerk of Court shall prepare a judgment incorporating the terms of this Order

IT IS SO ORDERED, thisg&day of ,.2005

 

IT UD STATES DISTRICT

APPROVED AND CONSENTED:

TERRELL. L. HARRIS
United States Attome

BY:

 

[STOPHER E. COTTEN
ssistant United States Attorney
Attorney for Plaintiff

\/BJGHARD% M harm
Attorney for the ant

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02568 was distributed by faX, mail, or direct printing on
August 11, 2005 to the parties listed.

 

 

Christopher E. Cotten

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Honorable J. Breen
US DISTRICT COURT

